           Case 1:11-cv-00771-LY Document 1444 Filed 11/22/13 Page 1 of 1
                              .                                .
                                                                      FILED
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEX43p40y 22 AM 8:36


BANDSPEED, INC.,

                 Plaintiff,
                                              §
                                              §
                                                           CAU4I  CLERK US QSTFCT COURT


                                                                         UEPUIY
                                              §
v.                                            §
                                              §
GARMIN INTERNATIONAL, INC.,                   §              JURY TRIAL DEMANDED
etal.,                                        §
                                              §
                 Defendants                   §

     ORDER GRANTING BANDSPEED, INC.'S MOTION TO FILE UNDER SEAL

          On this date came to be heard Plaintiff Bandspeed Inc.'s Motion to File Under
Seal ("Motion").

          Having considered the Motion, the Court is of the opinion that the Motion
should be GRANTED.
          It is therefore ORDERED that Bandspeed's Motion is GRANTED and Exhibits A,

B, E,    and F of Plaintiff Bandspeed, Inc.'s Reply in Support of Motion to Exclude, or in
the Alternative, Compel with Respect to Interrogatory No. 13 shall be filed under seal.



          SIGNED this              day of _______________________, 2013.



                                                  LE7EAKEL /
                                                  U   TED STATES DISTRICT JUDGE
